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12 Attorneys for Defendant BANK OF AMERICA, N.A.
13
14                                UNITED STATES DISTRICT COURT

15               NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION

16
     SERGIO MARQUEZ, an individual, on behalf          CASE NO. 4:17-cv-00555-CW
17 of himself and all others similarly situated,
                                                       JOINT STIPULATION OF DISMISSAL
18                  Plaintiff,                         WITH PREJUDICE
19
     v.
20
     BANK OF AMERICA, N.A., et al.,
21
                    Defendants.
22
23
24           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Sergio Marquez and

25 Defendant Bank of America, N.A. (“BANA”) stipulate that Marquez’s claims against BANA have
26 been resolved and shall be dismissed WITH PREJUDICE. Each party to this stipulation shall bear
27 his/its own costs, including attorneys’ fees.
28 ///

                           JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
        Case 4:17-cv-00555-CW Document 112 Filed 09/19/18 Page 2 of 3




 1          SO STIPULATED AND AGREED.

 2
 3 DATED: September 18, 2018                      KEEGAN & BAKER, LLP

 4
 5                                                By: /s/ Patrick Keegan, Esq.
 6                                                        Patrick Keegan, Esq.

 7                                                Attorneys for Plaintiff
                                                  SERGIO MARQUEZ
 8
 9
     DATED: September 18, 2018                 MCGUIREWOODS LLP
10
11
                                               By:         /s/ Sylvia J. Kim, Esq.
12                                                     Sylvia J. Kim, Esq.
13                                                   Attorneys for Defendant
14                                                   BANK OF AMERICA, N.A.

15
16
                                         FILER’S ATTESTATION
17
     In compliance with Civil Local Rule 5-1(i)(3), regarding signatures, I hereby attest that I have
18
     obtained the concurrence in the filing of this document from all signatories.
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                                                      2
                           JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
        Case 4:17-cv-00555-CW Document 112 Filed 09/19/18 Page 3 of 3




 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on September 19, 2018, I electronically transmitted the foregoing

 3 document to the Clerk’s Office using the CM/ECF System for filing and service via transmittal of a
 4 Notice of Electronic Filing.
 5         I declare under penalty of perjury under the laws of the United States of America that the

 6 foregoing is true and correct.
 7         Executed on September 19, 2018, at San Francisco, CA.

 8
 9                                                      /s/ Sylvia J. Kim
                                                          Sylvia J. Kim
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                                                    3
                         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
